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UNITED STA'I`ES DISTRICT COURT
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE 05 AUG zlb PH 3; 29

 

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W.U €_f§‘ iii ".-`ii:it‘i!?i'ii$

W.M. BARR AND COMPANY, INC.,
Plaintiff and Counter-Defendant,

No. 05-2219-D-V
JURY DEMANDED

V.

DYNACRAFT INDUS'I`RIES, INC.,
d/b/a BACK TO NATURE PRODUCTS CO.,

V\-/\_V\_/\ud\-/\_V`_/VW

Defendant and Counter-Plaintiff

_ ORDER GRANTING PLAINTIFF'S MO'I`ION
FOR LEAVE TO FILE REPLY

 

Pending before the Court is Plaintiffs Motion for Leave to File Reply to Defendant's
Response to Barr's Motion to Dismiss. Having considered the Motion for Leave to File Reply,
the Court is of the opinion that said Motion Should be granted.

IT IS THEREFORE ORDERED that Plaintiff'S Motion for Leave to File Reply be, and

hereby is, GRANTED. Plaintiff may file the Reply attached to its Motion.

So Ordered thisé¢ day ofé 22 s,, ldf ,2005.

 

U ted States District Judge

 
 
 

Th!s document entered on the docket she
with Hu|e 58 and/or 79(3] FHCP on

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This notice confirms a copy ofthe document docketed as number 11 in
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Honorable Bernice Donald
US DISTRICT COURT

